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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION


IN RE: MOVEIT CUSTOMER DATA                           MDL DOCKET NO.: 3083
SECURITY BREACH LITIGATION




                                  SCHEDULE OF ACTION

         Plaintiffs              Defendant     District     Case No.         Judge
Katelin Malo, individually,     Performance   D. Oregon   6:23-cv-01140 Michael J.
and as natural parent and       Health                                  McShane
next friend of K.J., a minor,   Technology,
Corrinna Reed, and Joann        Ltd.
Kindred




Dated: August 22, 2023                        Respectfully submitted,

                                              BAILEY & GLASSER LLP


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                                 Joann Kindred




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